Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 1 of 16 PageID #: 16




        EXHIBIT A
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 2 of 16 PageID #: 17
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 3 of 16 PageID #: 18
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 4 of 16 PageID #: 19
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 5 of 16 PageID #: 20
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 6 of 16 PageID #: 21
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 7 of 16 PageID #: 22
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 8 of 16 PageID #: 23
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 9 of 16 PageID #: 24
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 10 of 16 PageID #: 25
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 11 of 16 PageID #: 26
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 12 of 16 PageID #: 27
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 13 of 16 PageID #: 28
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 14 of 16 PageID #: 29
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 15 of 16 PageID #: 30
Case 2:24-cv-00549-JRG Document 1-1 Filed 07/18/24 Page 16 of 16 PageID #: 31
